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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )          CRIMINAL ACTION NO.
    v.                               )            2:94cr62-MHT
                                     )                 (WO)
RONALD LANDER                        )


                        OPINION AND ORDER

    Amendment 782 to the 2014 edition of the Sentencing

Guidelines     revised       the     guidelines           applicable     to

drug-trafficking offenses.           Following the United States

Sentencing    Commission’s      decision         to   give   retroactive

effect   to   the     amendment,         this    court     established    a

Retroactivity Screening Panel to determine whether a

defendant     might    be    eligible           for   a    reduction     of

sentence.     Upon consideration of the recommendation of

the Retroactivity Screening Panel entered February 12,

2015 and after an independent and de novo review of the

record, it is ORDERED as follows:

    (1) Defendant           Ronald         Lander’s         motion     for

         retroactive          application             of      sentencing

         guidelines (doc. no. 2096) is granted.
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 (2) Pursuant to 18 U.S.C. § 3582(c)(2), defendant

       Lander’s       previously       imposed       sentence         of

       imprisonment (as reflected in the last judgment

       issued) of 324 months is reduced to 262 months.

 (3) This order will not be effective until November

       1, 2015.

 DONE, this the 12th day of February, 2015.

                               _ /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE
